






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00543-CV






ACandS, Inc., Appellant



v.



Dorothy A. Lehmann, Individually and as Personal Representative of the Heirs and


Estate of Clarence R. Lehmann, Deceased; Alan Sweeten; Eugene Kanak;


James Jones; James Scott; and Henry Taylor, Appellees







FROM THE DISTRICT COURT OF MILAM COUNTY, 20th JUDICIAL DISTRICT


NO. 26,342, HONORABLE ED MAGRE, JUDGE PRESIDING







	The parties have filed a Joint Motion to Dismiss Appeal for Want of Finality and we
grant their joint motion and dismiss for want of jurisdiction.

	The parties allege that the judgment in the underlying matter was intended to be
entered in Cause No. 26,342-A, a cause severed from the original lawsuit for purposes of trial.  The
original lawsuit was filed under Cause No. 26,342.  Judgment in the severed cause (Cause No.
26,342-A) was mistakenly signed and entered under Cause No. 26,342.  There remain in the original
lawsuit other issues and parties pending before the court so that the judgment rendered under Cause
No. 26,342 is interlocutory and unappealable.

	The parties request that this appeal (from Cause No. 26,342) be dismissed for want
of finality.  The parties represent to this Court that they will jointly move the district court to set
aside the current judgment in Cause No. 26,342 and to rendered judgment in Cause No. 26,342-A,
after which appellant AcandS, Inc. will perfect a new appeal from the final judgment entered in
Cause No. 26,342-A.

	It appears to this Court that the parties' request is well-taken.  Tex. R. App. P.
42.1(a)(1).  Accordingly, the instant appeal is dismissed for want of jurisdiction.



					                                                                                    

					Lee Yeakel, Justice

Before:  Justices Kidd, Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:    December 20, 2001

Do Not Publish


